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                                                                       Hearing Date: June 5, 2024 at 10:00 a.m. ET
                                                                  Objection Deadline: May 29, 2024 at 4:00 p.m. ET

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________ x
                                            : Chapter 11
In re                                       :
                                            : Case No. 23-10367 (MG)
SVB FINANCIAL GROUP,1                       :
                                            :
                  Debtor.                   :
                                            :
___________________________________________ x

        NOTICE OF PROPOSED ASSUMPTION AND ASSIGNMENT OF EXECUTORY
              CONTRACTS OR UNEXPIRED LEASES AND CURE AMOUNT

                You are receiving this Notice of Assumption and Assignment of Executory
 Contracts or Unexpired Leases and Cure Amount (this “Notice of Assumption and
 Assignment”) because you may be a counterparty to an executory contract or unexpired
 lease with SVB Financial Group, as debtor and debtor-in-possession (the “Debtor”). Please
 read this notice carefully as your rights may be affected.

                 PLEASE TAKE NOTICE that on March 17, 2023, SVB Financial Group (the
 “Debtor”) filed a voluntary petition for relief under title 11 of the United States Code, 11 U.S.C.
 §§ 101 et seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern
 District of New York (the “Court”).

                PLEASE TAKE FURTHER NOTICE that the Debtor has executed an Interest
 Purchase Agreement, dated as of May 2, 2024, by and between the Debtor and Pinegrove Sierra
 HoldCo LLC (the “Designated Buyer”) for the purchase of the SVB Capital Business (the
 “Designated Buyer Agreement”), including the assumption and assignment by the Debtor of
 certain executory contracts and unexpired leases. The Designated Buyer Agreement is subject to
 higher or otherwise better offers pursuant to the terms and provisions thereof.

               PLEASE TAKE FURTHER NOTICE that on May 2, 2024, the Debtor filed the
 Debtor’s Motion for Entry of Orders (I)(A) Approving Buyer Protections, (B) Scheduling a Sale
 Hearing, (C) Approving Form and Manner of Notices for Sale of the SVB Capital Business, (D)
 Approving Assumption and Assignment Procedures, and (E) Granting Related Relief, and (II)(A)
 Approving the SVB Capital Purchase Agreement, (B) Approving the Sale of the SVB Capital
 Business Free and Clear of Liens, Claims, Interests and Encumbrances, (C) Authorizing
 Assumption and Assignment of Executory Contracts and (D) Granting Related Relief (the
 “Motion”)2 with the Court seeking entry of orders, among other things, (i) authorizing and
 approving procedures for the assumption and assignment of executory contracts and unexpired


 1
        The last four digits of SVB Financial Group’s tax identification number are 2278.
 2
        All capitalized terms used but otherwise not defined herein shall have the meanings set forth in the Motion.
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leases in connection with the proposed Sale of the SVB Capital Business (the “Assumption and
Assignment Procedures”) and (ii) authorizing and approving the assumption and assignment of
certain executory contracts and unexpired leases.

                 PLEASE TAKE FURTHER NOTICE that, upon the closing of the Sale of the
SVB Capital Business, the Debtor may assume and assign to the Ultimate Buyer certain
executory contracts and unexpired leases (the “Assumed Contracts”). A list (the “Executory
Contract List”) (i) identifying each Assumed Contract applicable to each counterparty (a
“Counterparty”) and (ii) setting forth the proposed amount (the “Cure Amount”) necessary to
cure any default under the relevant Assumed Contract pursuant to section 365 of the Bankruptcy
Code is attached hereto.

          YOU ARE RECEIVING THIS NOTICE BECAUSE YOU HAVE BEEN
IDENTIFIED AS A COUNTERPARTY TO A POTENTIAL ASSUMED CONTRACT.

         IF YOU AGREE WITH THE ASSUMPTION AND ASSIGNMENT OF
YOUR CONTRACT(S) AND THE PROPOSED CURE AMOUNT(S) LISTED IN THE
EXECUTORY CONTRACT LIST WITH RESPECT TO YOUR POTENTIAL
ASSUMED CONTRACT(S), YOU ARE NOT REQUIRED TO TAKE ANY FURTHER
ACTION.

         IF YOU DISAGREE WITH THE ASSUMPTION AND ASSIGNMENT OF
YOUR CONTRACT(S) OR THE PROPOSED CURE AMOUNT(S) LISTED IN THE
EXECUTORY CONTRACT LIST WITH RESPECT TO YOUR POTENTIAL
ASSUMED CONTRACT(S), YOU MAY OBJECT TO THE ASSUMPTION AND
ASSIGNMENT OR THE PROPOSED CURE AMOUNT.

          PLEASE TAKE FURTHER NOTICE THAT SERVICE OF THIS NOTICE
OF ASSUMPTION AND ASSIGNMENT DOES NOT CONSTITUTE AN ADMISSION
THAT ANY CONTRACT OR LEASE ON THE EXECUTORY CONTRACT LIST IS AN
EXECUTORY CONTRACT OR UNEXPIRED LEASE, OR THAT ANY SUCH
CONTRACT OR LEASE WILL BE ASSUMED AND ASSIGNED BY THE DEBTOR.

                PLEASE TAKE FURTHER NOTICE that if, following service of this Notice
of Assumption and Assignment, the Debtor identifies additional executory contracts and
unexpired leases for assumption and assignment in connection with the Sale (“Additional
Assumed Contracts,” and, together with the Assumed Contracts, the “Assumed Debtor
Contracts”) or any previously proposed Cure Amounts are modified, the Debtor may file with
this Court and serve by first-class mail (and/or by email, as applicable) a notice (a “Further
Assignment Notice,” and, together with the Initial Assignment Notices, the “Contract Notices”)
on each impacted Counterparty. Further Assignment Notices shall contain the same information
as the Initial Assignment Notice. Further Assignment Notices may be filed and served at any
time up to the closing of the Sale.

               PLEASE TAKE FURTHER NOTICE that a hearing to consider approval of the
Sale (the “Sale Hearing”) has been requested to be held before the Honorable Martin Glenn,
Chief United States Bankruptcy Judge, in the United States Bankruptcy Court for the Southern
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District of New York, located at One Bowling Green, New York, New York 10004. The Sale
Hearing may be adjourned or modified by the Debtor by an announcement of the adjourned date
or modification at a hearing before the Court and/or by filing a notice on the Court’s docket. At
the Sale Hearing, the Debtor will seek approval of the sale of the SVB Capital Business to the
Ultimate Buyer.

                PLEASE TAKE FURTHER NOTICE that pursuant to the Assumption and
Assignment Procedures, a Counterparty may file an objection to (i) the proposed Cure Amount,
(ii) the proposed assumption and assignment of the Assumed Debtor Contracts, (iii) the adequate
assurance of future performance provided by the Designated Buyer or (iv) whether applicable
law excuses a Counterparty from accepting performance by, or rendering performance to, the
Designated Buyer (each, a “Cure Objection”). In the event the Debtor enters into a Superior
Transaction, a Counterparty may file an objection with respect to adequate assurance of future
performance provided by the Ultimate Buyer and whether applicable law excuses a Counterparty
from accepting performance by, or rendering performance to, the Ultimate Buyer (each, an
“Assignee Objection,” either a Cure Objection or an Assignee Objection, a “Contract
Objection”).

                 PLEASE TAKE FURTHER NOTICE that any Contract Objection must (i) be
in writing; (ii) state with specificity the nature of such objection and, in the case of a Cure
Objection, if disputed, the alleged Cure Amount and any and all defaults that must be cured or
satisfied in order for such Assumed Debtor Contract to be assumed and assigned (with
appropriate documentation in support thereof); (iii) comply with the terms of these Assumption
and Assignment Procedures, the Bankruptcy Rules and the Local Rules; and (iv) be filed with
this Court and properly served on the (A) counsel to William K. Harrington, the United States
Trustee for Region 2, U.S. Department of Justice, Office of the U.S. Trustee, (B) counsel to the
Debtor, (C) counsel to the Official Committee of Unsecured Creditors appointed in this Chapter
11 Case, (D) counsel for the Designated Buyer, (E) counsel for the Ultimate Buyer (if different
than the Designated Buyer), (F) counsel to the Ad Hoc Group of Senior Noteholders (as defined
in the Verified Statement of Davis Polk & Wardwell LLP Pursuant to Federal Rule of
Bankruptcy Procedure 2019 [D.I. 149]), (G) counsel to the Ad Hoc Cross-Holder Group (as
defined in the Verified Statement of White & Case LLP Pursuant to Bankruptcy Rule 2019 [D.I.
142]) and (H) all parties requesting notice in this Chapter 11 Case pursuant to Bankruptcy Rule
2002.

                PLEASE TAKE FURTHER NOTICE that a Contract Objection must be filed
and duly served in accordance with the following deadlines (each, a “Contract Objection
Deadline”): (i) a Counterparty to an Assumed Contract included in an Initial Assignment Notice
will have until the Sale Objection Deadline to file and duly serve a Cure Objection; (ii) a
Counterparty to an Additional Debtor Contract included in a Further Assignment Notice will
have until the later of the Sale Objection Deadline and 10 days after such Further Assignment
Notice to file and duly serve a Cure Objection; and (iii) in the event the Debtor enters into a
Superior Transaction, any Counterparty to an Assumed Debtor Contract may file and duly serve
an Assignee Objection until the later of (A) 7 days after the date of the notice filed by the Debtor
announcing the identity of the Ultimate Buyer and (B) with respect to an Additional Assumed


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Contract, 10 days after the date of the Further Assignment Notice which includes such
Additional Assumed Contract.

                PLEASE TAKE FURTHER NOTICE that if no objections are received by the
latest applicable Contract Objection Deadline with respect to an Assumed Debtor Contract, then
(i) the applicable Counterparty shall be deemed to have consented to the assumption and
assignment of such Assumed Debtor Contract and the proposed Cure Amount shall be binding
on the applicable Counterparty for all purposes and will constitute a final determination of the
total Cure Amount required to be paid in connection with the assumption and assignment of such
contract, and (ii) the contract will be assumed and assigned to the Ultimate Buyer as of the
closing date of the Sale, as approved by the Sale Order.

               PLEASE TAKE FURTHER NOTICE that a hearing with respect to Contract
Objections timely and duly filed before the Sale Objection Deadline shall be held at the Sale
Hearing (the “Initial Contract Hearing”). Hearings with respect to Contract Objections to
Assumed Debtor Contracts for which the applicable Contract Objection Deadlines are later than
the Sale Objection Deadline may be held on such dates as this Court may designate (each, an
“Additional Contract Hearing,” and, together with the Initial Contract Hearing, each, a “Contract
Hearing”). Upon resolution of a Contract Objection, provided that neither the Debtor nor the
Ultimate Buyer have determined to exclude the relevant contract from the Sale, and upon
payment of the applicable cure amount, if any, the contract will be deemed assumed and
assigned to the Ultimate Buyer as of the closing date of the Sale. If this Court determines at a
Contract Hearing that a particular Assumed Debtor Contract cannot be assumed and assigned for
any reason, then such Assumed Debtor Contract shall no longer be considered an Assumed
Debtor Contract.

                PLEASE TAKE FURTHER NOTICE that any Counterparty to an Assumed
Debtor Contract who fails to timely file and properly serve a Contract Objection in
accordance with the Assumption and Assignment Procedures (i) will be deemed to have
forever waived and released any Contract Objection and consented to the assumption and
assignment of such Assumed Debtor Contract on the terms set forth in the applicable
Notice of Assumption and Assignment, subject to the occurrence of the closing of the Sale,
and (ii) will be barred and estopped forever from asserting or claiming against the Debtor
or the Ultimate Buyer that any additional amounts are due or defaults exist, or conditions
to assignment must be satisfied, under such Assumed Debtor Contract; provided, however,
that a Counterparty to an Assumed Debtor Contract shall not be barred from seeking
additional amounts on account of any defaults occurring between the service of the latest
served Contract Notice and the assumption of the Assumed Debtor Contract.

                 PLEASE TAKE FURTHER NOTICE that this Notice is subject to the fuller
terms and conditions of the Motion and the Buyer Protections Order, with such Buyer
Protections Order controlling in the event of any conflict, and the Debtor encourages parties in
interest to review such documents in their entirety. Copies of the Motion and Buyer Protections
Order, as well as all related exhibits, including all other documents filed with the Court, are
available (i) free of charge from the website of the Debtor’s claims and noticing agent, Kroll
Restructuring Administration (“Kroll”), at https://restructuring.ra.kroll.com/SVBFG and (ii) for a
fee on the Court’s electronic docket for this Chapter 11 Case at www.nysb.uscourts.gov (a
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PACER login and password are required and can be obtained through the PACER Service Center
at www.pacer.psc.uscourts.gov). In addition, copies of the Motion and the Buyer Protections
Order may be requested from Kroll by email at svbfginfo@ra.kroll.com.



Dated: May 2, 2024                      /s/ James L. Bromley
New York, New York                      James L. Bromley
                                        Andrew G. Dietderich
                                        Christian P. Jensen
                                        SULLIVAN & CROMWELL LLP
                                        125 Broad Street
                                        New York, NY 10004
                                        Telephone: (212) 558-4000
                                        Facsimile: (212) 558-3588
                                        E-mail: bromleyj@sullcrom.com
                                                dietdericha@sullcrom.com
                                                jensenc@sullcrom.com


                                        Counsel to the Debtor




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                                                    Executory Contracts

     No.         Non-Debtor                            Description of Agreement                        Cure Amount
                Counterparty

                                      Services Agreement, dated as of October 31, 2016, by and
                                      between SVB Financial Group and 4th & King, LLC, as
                                      supplemented by the Credit Fund Visual Upgrade Statement of
1.         4th & King, LLC                                                                                    $0
                                      Work, dated as of July 22, 2021 (as further amended, modified
                                      or supplemented from time to time, and including all related
                                      schedules, order forms and statements of work)
           Aaron G. Gershenberg;
                                      Termination Agreement, dated as of March 21, 2024, by and
2.         Gershenberg Massa                                                                                  $0
                                      between SVB Financial Group and Aaron G. Gershenberg
           Family Trust
           Aaron G. Gershenberg;      Mutual Release and Waiver of Claims Agreement, dated as of
3.         Gershenberg Massa          March 21, 2024, by and among SVB Financial Group, Aaron                 $0
           Family Trust               G. Gershenberg and Gershenberg Massa Family Trust
                                      Master Subscription and Services Agreement, dated as of
                                      January 1, 2020, by and between SVB Financial Group and
4.         Allvue Systems, LLC        Allvue Systems, LLC (as amended, modified or supplemented         $1,376,000
                                      from time to time, and including all related schedules, order
                                      forms and statements of work)
                                      Amended & Restated Engagement Letter, dated as of April 28,
                                      2023, as supplemented by Addenda 1 and 2 and as amended by
                                      Amendment No. 1, dated as of October 24, 2023, by and
           Carta Investor Services,
5.                                    between SVB Financial Group and Carta Investor Services,                $0
           Inc.
                                      Inc. (as further amended, modified or supplemented from time
                                      to time, and including all related schedules, order forms and
                                      statements of work)
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                                                  Executory Contracts

     No.         Non-Debtor                         Description of Agreement                          Cure Amount
                Counterparty

                                   Master Subscription Agreement, dated as of February 4, 2021,
                                   by and between eShares, Inc. (d/b/a Carta, Inc.) and SVB
6.         eShares, Inc.           Financial Group (as amended, modified or supplemented from                $0
                                   time to time, and including all related schedules, order forms
                                   and statements of work)
                                   Letter Agreement, dated as of November 24, 2020, by and
           George Kaiser Family
7.                                 between SVB Financial Group and George Kaiser Family                      $0
           Foundation
                                   Foundation
                                   Letter Agreement, dated as of December 23, 2020, by and
           George Kaiser Family    among, SVB Innovation Credit Fund VIII, L.P., SVB
8.                                                                                                           $0
           Foundation              Innovation Credit Partners VIII, LLC, SVB Financial Group
                                   and George Kaiser Family Foundation
                                   Letter Agreement, dated as of November 24, 2020, by and
           Knollwood Investment
9.                                 between SVB Financial Group and Knollwood Investment                      $0
           Fund LLC
                                   Fund LLC
                                   Letter Agreement, dated as of December 23, 2020, by and
           Knollwood Investment    among SVB Innovation Credit Fund VIII, L.P., SVB
10.                                                                                                          $0
           Fund LLC                Innovation Credit Partners VIII, LLC, SVB Financial Group
                                   and Knollwood Investment Fund LLC
                                   Framework Agreement, dated as of July 29, 2022, by and
           Koch Financial Assets
11.                                between SVB Financial Group and Koch Financial Assets III,                $0
           III, LLC
                                   LLC
                                   Letter Agreement, dated as of December 18, 2020, by and
           Koch Financial Assets   among SVB Innovation Credit Fund VIII, L.P., SVB
12.                                                                                                          $0
           III, LLC                Innovation Credit Partners VIII, LLC, SVB Financial Group
                                   and Koch Financial Assets III, LLC
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                                                 Executory Contracts

  No.        Non-Debtor                            Description of Agreement                         Cure Amount
            Counterparty

                                  Private Placement Agreement, dated as of February 8, 2023,
        Mitsubishi UFJ
                                  by and between SVB Financial Group and Mitsubishi UFJ
13.     Alternative Investments                                                                            $0
                                  Alternative Investments Co., Ltd.
        Co., Ltd.
                                  Amended and Restated Services Agreement, dated as of March
                                  3, 2021, by and between SVB Financial Group and Strata Fund
        Strata Fund Solutions
14.                               Solutions LLC (as amended, modified or supplemented from            $470,000
        LLC
                                  time to time, and including all related schedules, order forms
                                  and statements of work)
                                  Membership Interest Vesting Agreement, dated August 11,
                                  2023, by and between Sulu Mamdani, SVB Strategic Investors
                                  X, LLC, SVB Capital Partners V, LLC, SVB Strategic
15.     Sulu Mamdani              Investors XI, LLC, SVB Capital Partners VI, LLC, SVB CP                  $0
                                  Climate Impact GP, LLC, Sprout Endurance Partners II, LLC,
                                  SVB SIF-Ascension GP I, LLC, SVB Capital Management,
                                  LLC, and SVB Financial Group.
                                  Letter Agreement, dated as of November 24, 2020, by and
16.     SWC WR, LP                                                                                         $0
                                  between SVB Financial Group and SWC WR, LP
                                  Letter Agreement, dated as of December 23, 2020, by and
                                  among SVB Innovation Credit Fund VIII, L.P., SVB
17.     SWC WR, LP                                                                                         $0
                                  Innovation Credit Partners VIII, LLC, SVB Financial Group
                                  and SWC WR, LP
